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(COB #225 voconf13planbapcpa)(06/07)




                    IN THE UNITED STATES BANKRUPTCY COURT
                                           District of Colorado,
                                        HONORABLE Michael E. Romero

In re:
                Judith Jean Schneider

Debtor(s)
                                                             Case No.:      17−11810−MER
                                                             Chapter:       13
SSN/TID
Nos.    xxx−xx−0318


                                ORDER CONFIRMING AMENDED CHAPTER 13 PLAN

   IT HAVING BEEN DETERMINED AFTER NOTICE AND A HEARING:


         1. That the Plan complies with Chapter 13 and all other applicable provisions of Title 11, United
            States Code;
         2. That any fee, charge, or amount required under Chapter 123 of Title 28, United States Code, or
            by the Plan, to be paid before confirmation has been paid;
         3. That the action of the debtor(s) in filing the petition was in good faith;
         4. That the Plan has been proposed in good faith and not by any means forbidden by law;
         5. That the value, as of the effective date of the Plan, of property to be distributed under the Plan on
            account of each unsecured claim is not less than the amount that would be paid on such claim if
            the estate of the debtor(s) were liquidated under Chapter 7 of Title 11, United States Code on
            such date; and
         6. That the Plan complies with the provisions of 11 U.S.C. §1325(a)(5) as to holders of secured
            claims.
         7. That pending motions for valuation of real property collateral and determination of secured status
            under U.S.C. § 506 have been provided for by separate court order, if applicable.


IT IS ORDERED:

         The Debtor(s)' AMENDED Plan filed on 07/24/2017 at (docket no. 49 ) is confirmed;

         The Debtor(s) shall make payments in accordance with the terms of the Plan.

     Creditors holding liens on property which the Plan specifies is to be surrendered by the Debtor(s) are
hereby granted relief from the stay imposed by 11 U.S.C. §362 and may enforce their rights in and to said
property.

     The assumption of executory contracts on the terms stated in the Plan is approved. If the plan
provides for the rejection of an executory contract or unexpired lease, the party to the rejected executory
contract or lease must file a proof of claim within 30 days of the date of the entry of this Order, failing
which the claim may be barred.

         Any hearing on confirmation is VACATED.

     This order binds those creditors and parties in interest that have been served in accordance with
applicable rules.


Dated: 9/1/17                                             BY THE COURT:
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                                     s/ Michael E. Romero
                                     Chief United States Bankruptcy Judge
